18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 1 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 2 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 3 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 4 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 5 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 6 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 7 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 8 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 9 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 10 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 11 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 12 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 13 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 14 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 15 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 16 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 17 of 18
18-23185-shl   Doc 8   Filed 08/09/18    Entered 08/09/18 16:04:05   Main Document
                                        Pg 18 of 18
